 

TNW

 

Lane, Aiandus

CJA 20 APPOINTMENT 0F AND AUTHoRtTY To PAY conn APP01 00 r-;L
..C.R.,D.Sr_m,t_,@,<;,e MSM§;E§;W. coen-mem do F:tcd Wili.Q/W .Dam= 1 fn 9 pngplr) 137

'vouCHER NBMBER

 

 

3. MAG. I)KT.."DEF. NUMBER 4. DIST. DKT.:'DEF. N‘UMBER

2:05-020251-001 .MA.

5. APPEALS DKT./DEF. NUMBER 6. OTI'IER DKT. NUMBER

 

 

 

 

 

 

MEMPH|S TN 38105

Telephone Number:

 

14. NAME A.ND MAILINC ADDRESS OF LAW FIRM (only provide per inltrucl|ons)
STEPHEN R. LEFFLER LAW OFFICE
707 Adams Avenue
MEMPHIS TN 38105

 

 

 

 

 
   
 

7. lN CASE/MATFER OF (C`ase Name) 8. PAYMENT CATEGORY 9. TYPE PERSON REPRESENTED Il]. R§:PFESENTATIDN TYPE
( ee nstructiuns)
U.S. v. Lane Feiony Aduit Defendant Crtmmai Casc
ll. OFFENSE(S) CH ARGED (Cite U.S. Code Tl'[le & Setlion) iimnre then one uiTense list (up to l'lve} major ofi'mes char
1 , ged, according to severity nl' offense
i) 18 1343. F -- FRAUD BY WIRE, RADIO, OR TELEVISION
12 ATTORNEY S NAME /(‘>/
. ' First Name, M.L, Lest Nnme. including any sulflz) 13. COURT OR.DER \
AND MAIL|NG ADDRE§S IE 0 Appointing Cntil!s¢| i:] C Co-Cuunsel § <‘:`:!
LEFFLER, STEPHEN R_ ij F sons ear mem wenner iii n sum For Rmm¢n tommy L$` 4
707 Adams Ave ij P Subs For Plnel Atturney ij Y Stmdby Cnunse|

Fr|or Altorney's Name; ‘) dp `r
Appo|nlment Dlie: __ (:(L"»`»\ 4 9 n
\ ,,;, , ,, '
[] Becnuse the above-named person represented has testlned under oath ur has ;,,,/’/,>" ' "\
otherwise setis lied thls court that he or she (l) is iinaneili|y unable to employ emfh;’ g <’,‘t
n d
; <'=» ‘"
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ur '
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Slgn- ure of ¥residlng Ju \ iclal Ol'iicer ar By Order ofrhe Court
fiR/ i 6/') 00 §
Dltte oi'Order Nunc Pru Tunt: Date

Repaymeni nr partial repayment ordered from the person represented for this service al
time nfappoimment. NO
. . f

 

 
   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Other Expenses (other than expert, transcripix etc.)

 
 
 

     

" ` .e n .. ` ....... .._
19. CERT]FICATION OF A'ITORNEY."PAYEE FOR THE PER]OD 0 F SERVICE

FROM '¥'O

  
  
  
 

CATEGORIES (Attaeh itemization ol` services with dates) C{IBIH,|'§SD MAWCH ADD{;HZONAL
15. a. Arraignment nndr'or Plea

h. Bail and Detention l-learings

c. Motion Hearings
ll d. Triat
C e. Sentencing Hearings
3 f. Revoeation Hearings
" g. Appeals Court

h. Cither (Specify on additional sheets)

(Rale per hour - 5 ) TOTA.LS:

16. a. Interviews and Conl'erenees
no b. Obtaining and reviewing records
o c. Legal research and brief writing
; d. Travet time
§ e. Investlgative and Other work (sp¢nry nn additional rheem
{ (Rate per hour = $ ) TOTALS:
17. Travel Expenses (lodglng, parking, meals, mileage, etc)
18.

  

 

 

 

 

 

 

21. CASE DlSPO SITION

 

lF OTHER THAN CASE COMPLETION

 

 

22. CLA|M STATUS ij Flnal Payment ij lnterlm Payment Numher

representation? ij NO ll`yesl give details nn additional shem.
l swear or affirm the truth or correctness of the above stacements.

Have you previously applied to the court fu' compensation andt‘or rem|mhursement for this case?
Other then from the court, have yuu. or toyour knowledge has anyone else, received payment (eompensallun or anything or value) from any other source in comieetlon with this
S

i:i Supplemennl l'ayment

l:] YES lf yes, were you pnld? L_.i YES l:l NO

 

S|gnlture uf Attorne '
, .,.,

 

   

23. IN COURT COMI'. 14. OUT OF COURT COMP.

  
   

25. TRAVEL EXI'ENSES

 

  

26. OTHER EXPENSES

17. TOTAL AMT. APPR .' CERT

 

28. SIGNATURE OF THE PRES|DING JUD]C|AL OFFlCER

DATE 281. JUDGE fMAG. .IUDCE CODE

 

29. IN COURT COMP. 30. OUT OF COURT COMP. 3|.

 

 

TRAVEL EXPENSES

31. OTI'IER EXPENSES 33. TOTAI. AMT. APPROVED

 

approved in excess of lite stalulory threshold amnun .

 

]4. SIGNATURE OF CH|EF .IUDCE, COURT OF APl’ EALS (OR DELECATE) Payment

DATE 34|1. JUDGE CODE

 

 

 

 

This doct ment entered on the docket §§eet in £t.)mpliance

with Fi.i|e 55 and/ot 32fbi FRCrP on °

 
  
 
 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 53 in
case 2:05-CR-20251 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

